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                      UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                                   AUSTIN
                                   AUSTIN DIVISION


VLSI TECHNOLOGY LLC                          §
                                             §     CIVIL NO:
vs.                                          §     AU:19-CV-00977-ADA
                                             §
INTEL CORPORATION, INTEL                     §
CORPORATION


          ORDER RESETTING MOTION HEARING
                                 HEARING BY ZOOM
                                             ZOOM


         IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
MOTION HEARING BY ZOOM on Wednesday, December        12/ 30 2 0             10:00 AM.
                                                                30, 2020 at 10:00 AM  The
link previously sent for the hearing is still valid.

        IT IS SO ORDERED this 12/820




                                             Alan D Albright
                                             UNITED STATES DISTRICT JUDGE
